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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF IOWA


      UNITED STATES OF AMERICA
           Plaintiff,                          Criminal No. 4:19-CR-00172

      vs.                                      DEFENDANT MONTOYA’S
                                               WITNESS LIST

      RUBY MONTOYA,
           Defendant.


                 DEFENDANT MONTOYA’S WITNESS LIST

TO THE HONORABLE JUDGE REBECCA GOODGAME EBINGER:

Witness 1    Paul Kahn, Counselor
Witness 2    Mike Monteith*, Pipeline Estimator
Witness 3    Ruby Montoya



Ruby Montoya respectfully asks the Court accept this late filing because Ms. Montoya
has been without help from her attorney, Daphne Silverman, due to her recent injury
that required her to have an entire hip and femur replacement. Ms. Montoya’s new
representation, Maria Borbon, is now coming upon possible witnesses given these
extraordinary circumstances.

* Ms. Montoya requests that Mike Monteith testify via zoom because he is not
      available to travel.

This list is being served to the AUSA via email.

                                               Respectfully submitted,

                                               /s/ Ruby Montoya
                                               Ruby Montoya
                                               July 4, 2022
